                  Case 1:06-cr-00269-DAD Document 137 Filed 10/29/19 Page 1 of 1


                                  UNITED STATES DISTRICT COURT


                                  EASTERN DISTRICT OF CALIFORNIA




 UNITED STATES OF AMERICA,                                      No. 1:06-cr-00269 LJO

                     Plaintiff,
                                                                DETENTION ORDER
          v.                                                    (Violation of Supervised Release )

 MANUEL BURCIAGO

                     Defendant.



       The defendant having been arrested for alleged violation(s) of the terms and conditions of
supervised release; and
       Having conducted a detention hearing pursuant to Federal Rule of Criminal Procedure 32.l(a)(6)
and 18 U.S.C. § 3143(a), the Court finds that:
    √    The defendant has not met defendant’s burden of establishing by clear and convincing
evidence that defendant is not likely to flee; and/or

    √     The defendant has not met defendant’s burden of establishing by clear and convincing
evidence that defendant is not likely to pose a danger to the safety of any other person or the community
if released under 18 U.S.C. § 3142(b) or (c).
         This finding is based on the reasons stated on the record.



Dated:     October 29, 2019                                   /s/   Sheila K. Oberto          .
                                                    UNITED STATES MAGISTRATE JUDGE
